UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENN SYLVANIA

UNITED STATES OF AMERICA : No. 3:23-CR- Ja7 -

 

v. > (Judge/fMAveiat
‘THOMAS TROTTA, : (electronically filed) . FILED
Defendant : ~ SCRANTON —
PLEA AGREEMENT ~ MAY 22: 2023

pen. JKC

_ The following Plea Agreement is entered by the United Staf&sPUTY CLERK
Attorney for the Middle District of Pennsylvania and the above
captioned defendant. Any reference to the United States or to the
Government in this Agreement shall mean the Office of the United -
States Attorney for the Middle District of Pennsylvania.

A. Violation(s), Penalties, and Dismissal of Other Counts
1. Waiver of Indictment/Plea of Guilty. The defendant agrees to
waive indictment by a grand jury and plead guilty to a felony
Information, which will be filed against the defendant by the
United States Attorney for the Middle District of Pennsylvania.
That Information will charge the defendant with a violation of
Title 18, United States Code, §§ 668 and 2, Theft of Major

Artwork. The maximum penalty for that offense is
imprisonment for a period of ten years, a fine of $250,000, a

_ maximum term of supervised release of three years, to be
determined by the Court, which shall be served at the
conclusion of and in addition to any term of imprisonment, the

- costs of prosecution, denial of certain federal benefits, and an
assessment in the amount of $100. At the time the guilty plea
is entered, the defendant shall admit to the Court that the
defendant is, in fact, guilty of the offense charged in the
Information. The defendant agrees that the United States may,
at its sole election, reinstate any dismissed charges or seek
additional charges in the event that any guilty plea entered or
sentence imposed pursuant to this Agreement is subsequently

. vacated, set aside, or invalidated by any Court. The defendant ,
further agrees to waive any defenses to reinstatement of those
charges, or the filing of additional charges, based upon laches,
the assertion of speedy trial rights, any applicable statute of
limitations, or any other ground. The calculation of time under

the Speedy Trial Act for when trial must commence is tolled as

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of the date of the defendant’s signing of this Agreement, until

either (a) the defendant pleads guilty; or (b) a new date is set by

the Court for commencement of trial.

Venue Waiver. The defendant agrees to knowingly waive the
right to challenge venue over the charged offense in the United
States District Court for the Middle District of Pennsylvania.

Term of Supervised Release. The defendant also understands

 

that the Court may impose a term of supervised release

following any sentence of imprisonment exceeding one year, or

when required by statute. The Court may require a term of

supervised release in any other case. In addition, the defendant
understands that as a condition of any term of supervised

release or probation, the Court must order that the defendant

.cooperate in the collection of a DNA sample if the collection of a

sample is so authorized by law.
No Further Prosecution, Except Tax Charges. The United
States Attorney’s Office for the Middle District of Pennsylvania

agrees that it will not bring any other criminal charges against

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the defendant directly arising out of the defendant’s
involvement in the offenses described above. However, nothing
in this Agreement will limit prosecution for criminal tax
charges, if any, arising out of those offenses.

B. Fines and Assessments ~

5. Fine. The defendant understands that the Court may impose a
fine pursuant. to the Sentencing Reform Act of 1984. The willful
failure to pay any fine imposed by the Court, in full, may be
considered a breach of this Plea Agreement. Further, the
defendant acknowledges that willful failure to pay the fine may
subject the defendant to additional criminal violations and civil
penalties pursuant to Title 18, United States Code, § 3611, et
seq.

6. Alternative Fine. The defendant understands that under the
alternative fine section of Title 18, United States Code, § 3571,
the maximum fine quoted above may be increased if the Court
finds that any person derived pecuniary gain or suffered.

pecuniary loss from the offense and that the maximum fine to

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be imposed, if the Court elects to proceed in this fashion, could:
be twice the amount of the gross gain or twice the amount of the
gross loss resulting from the offense.

Inmate Financial Responsibility Program. If the Court orders a
fine or restitution as part of the defendant’s sentence, and the
sentence includes a term of imprisonment, the defendant agrees
to voluntarily enter the United States Bureau of Prisons-
administered program known as the Inmate Financial

~ Responsibility Program, through which the Bureau of Prisons
will collect up to 50% of the defendant’s prison salary, and up to
50% of the balance of the defendant’s inmate account, and apply
that amount on the defendant’s behalf to the payment of the
outstanding fine and restitution orders.

Special Assessment. The defendant understands that the Court |
will impose a special assessment of $100, pursuant to the
provisions of Title 18, United States Code, § 3013. No later
than the date of sentencing, the defendant or defendant’s

counsel shall mail a check in payment of the special assessment

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directly to the Clerk, United States District Court, Middle
District of Pennsylvania. Ifthe defendant intentionally fails to
make this payment, that failure may be treated as a breach of
this Plea Agreement and may result in further prosecution, the
filing of additional criminal.charges, or a contempt citation.
Collection of Financial Obligations. In order to facilitate the
collection of financial obligations imposed in connection with
this case, the defendant consents and agrees:

a. to fully disclose all assets in which the defendant has an >

‘interest or over which the defendant has control, directly or

indirectly, including those held by a spouse, nominee, or
other third party;

b. .to submit to interviews by the Government regarding the
defendant’s financial status:

c. to submit a complete, accurate, and truthful financial
statement, on the form provided by the Government, to the
United States Attorney’s Office no later than 14 days

following entry of the guilty plea;
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d. whether represented by counsel or not, to consent to contact
by and communication with the Government, and to waive
any prohibition against communication with a represented.
party by. the Government regarding the defendant's
financial status;

e. to authorize the Government to obtain the defendant’s
credit reports in order to.evaluate the defendant’s ability to
satisty any financial obligations imposed by the Court; and

f. to submit any financial information requested by the
Probation Office as directed, and to the sharing of financial
information between the Government and the Probation

. Office.

C. Sentencing Guidelines Calculation

 

10. Determination of Sentencing: Guidelines. The defendant and
counsel for both parties agree that the United States Sentencing
Commission Guidelines, which took effect on November 1, 1987,
and its amendments (the “Sentencing Guidelines”), will apply to

the offense or offenses to which thé defendant is pleading guilty. ©
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The defendant understands that the Sentencing Guidelines are

- advisory and not binding on the Court. The defendant further

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agrees that any legal and factual issues relating to the
application of the Sentericing Guidelines to the defendant’s
conduct, including facts to support any specific offense
characteristic or other enhancement or adjustment and the
appropriate sentence within the statutory maximums provided
for by law, will be determined by the Court after briefing, a pre-
sentence hearing, or a sentencing hearing.

Acceptance of ResponsibilityThree Levels. If the defendant
can adequately demonstrate recognition-and affirmative
acceptance of responsibility to the Government.as required by
the Sentencing Guidelines, the Government will recommend
that the defendant receive a three-level reduction in the .
defendant’s offense level for acceptance of responsibility. The

third level, if applicable, shall be within the discretion of the

Government under U.S.S.G. § 3E1.1. The failure of the Court to
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find that the defendant is entitled to a reduction shall not be a
basis to void this Agreement.
Specific Sentencing Guidelines Recommendations. With respect .

to the application of the Sentencing Guidelines to the

defendant’s conduct, the parties agree to recommend as follows:

Each party reserves the right to make whatever remaining

arguments it deems appropriate with regard to application of

the United States Sentencing Commission Guidelines to the
defendant’s. conduct. The parties agree that a sentence based
upon. this range of the Sentencing Guidelines is a reasonable
sentence under the facts and circumstances of this case. Under
U.S.S.G. §2B1.5(a), the Base Offense Level is 8. Under U.S.S.G.
§281.5(b)(1)(B) and §2B1.1(b)(E), there is a 16-level ,
enhancement because the value of the “objects of cultural
heritage” relevant to the defendant's conduct is between
$1,500,000 and $3,500,000. Under U.S.S.G. §2B1.5(b)(2), there

is a 2-level enhancement because the offense involved cultural .

heritage resources that were, prior to the offense, in the custody

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of museums. Under §2B1. 5(b)(4), there isa 2-level

. enhancement because the offense was committed for pecuniary.

gain. Under §2B1.5(b)(5), there is a 2-level enhancement

. betanse the defendant engaged in a pattern of misconduct

involving cultural heritage resources. Furthermore, both
parties agree that the conduct charged in Criminal Docket, CP-
35-CR-0001142-2019, the theft and burglary ‘from Hawley
Antique Exchange committed on or about February 25, 2018, is
relevant conduct as defiried i in U.S.S.G. §1B1.3 and §5G1. 3th).

. The defendant understahds that any recommendations are not
binding upon either the Court or the United States Probation

. Office, which may make different findings as to the application
of the Sentencing Guidelines to the defendant’s conduct. The
defendant further understands that the United States will
provide the Court and the United States Probation Office all
information in its possession that it deems relevant to the
application of the Sentencing Guidelines to the defendant's

conduct.
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D. Sentencing Recommendation —

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Appropriate Sentence Recommendation. At the time of
sentencing, the United States may make a recommendation
that it considers appropriate based upon the nature and |
circumstances of the case and the defendant’s participation in

the offense, and specifically reserves the right to recommend a

- sentence up to and including the maximum sentence of

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imprisonment and fine allowable, together with the cost of
prosecution.

Special Conditions of Probation/Supervised Release, If
probation or a term of supervised release is ordered, the United

States may recommend that the Court Impose one or more

‘special conditions, including but not limited to the following:

a. The defendant be prohibited from possessing a firearm or

other dangerous weapon. —
b. The defendant make restitution, if applicable, the payment

of which shall be in accordance with a schedule to be

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determined by the Court:
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The defendant pay any fine imposed in accordance with a
schedule to be determined by the Court.

The defendant be prohibited from incurring new credit
charges or opening additional lines of credit without
approval of the Probation Office unless the defendant is in
compliance with the payment schedule. -

The defendant be directed to provide the Probation Office
and the United States Attorney access to any requested .
financial information.

The defendant be confined in a community treatment
-center, halfway house, or similar facility.

The defendant be placed under home confinement.

The defendant be ordered to perform community service.
The defendant be restricted from working in certain types of
occupations or with certain individuals if the Government

deems such restrictions to be appropriate. —

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j. The defendant be directed to attend substance abuse.
counseling, which may include testing to determine whether
the defendant is using drugs or alcohol.

k. The defendant be directed to attend psychiatric or
psychological counseling and treatment in a program
approved by the Probation Officer,

1. The defendant be denied certain federal benefits including
contracts, ‘grants, loans, fellowships, and licenses.

m. The defendant be directed to pay any state or federal taxes.
and file any and all state and federal tax returns as

- required by law.
E. Forfeiture of Assets
15. Forfeiture. The United States seeks forfeiture of the
defendant’s interests in certain assets. In the event the United

States seeks to forfeit those assets through a civil proceeding,

the defendant understands that dismissal of the criminal

forfeiture allegation in no way limits the United States from

proceeding civilly against any assets owned or held by the
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defendant or any other party. Defendant agrees to settle any

civil and criminal forfeiture matters arising out of the offense of

conviction and its relovant conduct. The defendant agrees that
the defendant’s property constitutes proceeds of, is derived from '
proceeds traceable to, or was used in any manner or part to
commit or facilitate the commission of the offense of conviction
and its relevant conduct. Defendant further agrees to the
following:

a. Forfeiture of all properties, real and personal listed in
Count 1 of the Information;

b. Immediate entry of the preliminary order of forfeiture or the
filing ofa civil complaint by the United States, pursuant to
Title 18, United States Code, § 981;

c. Waiver of the right to personal service of all process and
naming of Joe D’Andrea, Esq. 320 N. Blakely Street,

Dunmore, Pennsylvania, 18512, as agent for service of all

process;

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Waiver of the right to appear and contest any portion of the
forfeiture proceedings, including but not limited to, any
- motion or proceeding for substitute assets;
The filing and entry of a consent decree of forfeiture:
Disclosure, no later than upon signing this Agreement, of all
persons and entities holding an equitable or legal interest in
the property, real or personal, subject to forfeiture pursuant
- to this Agreement;
Concurrence in any motion necessary to be filed and signing
any documents necessary to effectuate forfeiture:
Payment of costs associated with the seizure, storage, and ©
maintenance of any asset being returned to the defendant
asa result of this Agreement;
In the event any assets are being returned to the defendant,
such return does not amount to having “substantially
prevailed” in the pursuit of any claim, and to make no claim

against the United States or any of its agencies or

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employees, including claims for attorney’s fees and costs of
litigation;

j. Waiver of any double jeopardy challenges the defendant
may have to any administrative ot civil forfeiture actions,
pending or completed, arising out of the course of conduct
forming the basis for the forfeitures: and

k. Waiver of all constitutional, legal, and equitable claims
arising out of and defenses to the forféitiire of this property’
in any proceeding, including any claim of innocent
ownership and any claim or defense under the Eighth
Amendment, including any claim of excessive fine.

' 16. Disclosure of Assets. This Agreement is entered by the United
States on the basis of the express representation that the
defendant is making full and complete disclostire of all assets
over which the defendant exercises control. The defendant

' agrees to submit to a polygraph examination by an examiner
selected by the Government to verify the defendant’s complete

and candid compliance with this provision of the Agreement:

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' The defendant also understands that a failure to make a full

disclosure or lack of candor revealed by a polygraph
examination would constitute a breach of this Agreement,
subjecting the defendant to the sanctions set forth in this
Agreement. Conditioned upon such full disclosure, the United
States agrees not to seek the seizure/forfeiture of any of the

defendant’s assets other than those set forth in this Agreement.

No Further Forfeiture. As the result of the forfeitures set forth

above, the United States agrees not to sock forfeiture of any —
other asset known to the United States by defendant’s
disclosure to'belong to the defendant or the defendant’s family.
This Agreement does not prevent the IRS from the collection of
taxes or the seizure of assets to satisfy those taxes.

Forfeiture of Interests/Passage of Clear Title/Destruction Order.
By this Agreement, the defendant agrees to forfeit all interests
in the assets listed in the Information and to take whatever
steps are necessary to pass clear title of those assets to the ©

United States. These steps include but are not limited to
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surrender of title: signing of a consent decree; stipulating to
facts. regarding the transfer and basis for the forfeitures; and
concurrence in any motion and signing any document necessary
to effectuate euch transfers.

Destruction Order/W aivers. The defendant further agrees,
should the United States deem it appropriate, to the destruction
of the items seized during the course of the investigation. The

defendant agrees that the items may be destroyed by the

investigative agency with or without a court order authorizing

the destruction of the items seized. If the United States

determines that a destruction order should be obtained, the

defendant and defendant’s counsel hereby concur in a motion for

such an order. The defendant further agrees to waive all
interest in the assets in any administrative or judicial forfeiture
proceeding, whether criminal or civil, state, or féderal. The
defendant consents and waives all rights to compliance by the
United States with any applicable deadlines under 18 USC. §

983(a). Any related administrative claim filed by the defendant
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is hereby withdrawn. The defendant agrees to consent to the
entry of orders of forfeiture for such property and waives the
requirements of Federal Rules of Criminal Procedure. 32.2 ‘and
43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at, sentencing, and
incorporation of forfeiture in the judgment.

Forfeiture of Firearms Possessed in Connection with the
Offerise. The United States and the defendant hereby agree
that the W.F. Mills & Son Model 1860 7-barrel percussion rifle,
serial number 2193, which is a firearm as defined in 18 U.S.C.,
§ 921, seized during the investigation and currently in the ©
custody and control of the Federal Bureau of Investigation was
properly seized and was possessed, involved in or used ina

violation of 18 U.S.C. §668, Theft of Major Artwork, to which

the defendant will plead guilty. The defendant agrees that the

firearm is subject to forfeiture to the United States pursuant to
18 U.S:C. § 981. The defendant hereby relinquishes to the

United States any claim, title and interest the deféndant has in

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said firearms. The defendant agrees to withdraw any claim
made in any civil, administrative, or judicial forfeiture brought
_ against said firearm, and further agrees not to oppose any civil,
administrative, or judicial forfeiture of said firearm.
F. Victims’ Rights and Restitution :
21. Victims’ Rights. The defendant understands that pursuant to
the Victim and Witness Protection Act, the Crime Victims’
Rights Act, the Justice for All Act, and the regulations
promulgated under those Acts by the Attorney General of the .
United States, crime victims have the following rights:
a. The right to be reasonably protected from the accused;
b. The right to reasonable, accurate, and timely notice of any
public court proceeding on any parole proceeding involving
the crime, or of any release or escape of the accused:
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ce. The right not to be excluded from any such public court

proceeding, unless the Court, after receiving clear and.

convincing evidence, determines that testimony by the

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victim would be altered. materially if the victim heard other
testimony at that proceeding;

The right to be reasonably heard at any public hearing in
the Court involving release, plea, sentencing, or any parole —
proceeding. The defendant understands that the victims’
comments and recommendations at any of these proceedings
may be different than those of the parties to this.
Agreement

The reasonable right to confer with the attorney for the:
Government in the case. The defendant understands that
the victims’ opinions and recommendations given to the
attorney for the Government may be different than those
presented by the United States as a consequence of this
Agreement;

The right to full and timely restitution as provided for by
law. The attorney for the Government is required to “fully
advocate the rights of victims on the issue of restitution -

unless such advocacy would unduly prolong or complicate

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the sentencing proceeding,” and the Court is authorized to
order restitution by the defendant including, but not limited
to, restitution for property loss, economic loss, personal
injury, or death:
g. The right to proceedings free from unreasonable delay; and
h. The right to be treated with fairness and with respect for
the victim’s dignity and privacy.
Restitution. The defendant acknowledges that, pursuant to the
Mandatory Restitution Act of April 24, 1996, Title 18, United
States Code, § 3663A, the Court is required in all instances to

order full restitution to all victims for the losses those victims

have suffered as a result of the defendant’s conduct. The

defendant also agrees that the Government will seek, and the

Court may impose an order of restitution as to victims of the

'-defendant’s relevant conduct. With respéct to the payment of

restitution, the defendant further agrees that, as part of the

sentence in this matter, the defendant shall be responsible for

making payment of restitution in full, unless the defendant can

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demonstrate to the satisfaction of the Court that the defendant’s
_ economic circumstances do not allow for the payment of full
restitution in the foreseeable future, in which case the
defendant will be required to make partial restitution
payments. In addition to the schedule of payments that may be
established by the Court, the defendant understands and agrees:
that, pursuant to the Mandatory Victims Restitution Act of |
1996 and the Justice For All Act of 2004, victims of federal
crimes are entitled to full and timely restitution. ‘As such, these
payments do not preclude the Government from using other
assets of income of the defendant to satisfy the restitution
obligation. The defendant understands and ‘agrees that the
United States Attorney’s Office, by and through the Financial
Litigation Unit, has the obligation and the right to pursue any
legal means, including but not limited to, submission of the debt
to the Treasury Offset Program, to collect the full amount of
restitution owed to the victims in a timely fashion. Although

the defendant may reserve the right to contest the amount of

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restitution owed, the defendant agrees to take all steps to’
facilitate collection of all restitution, including submitting to
debtor’s exams as directed by the Government. Towards this
goal, the defendant agrees to waive any further notice of
forfeiture and agrees that the United States may, at its sole
election, elect to pursue civil or criminal forfeiture in the
amount of the victim restitution owed in this case, and the’
Court may enter both a restitution order and a forfeiture
judgment in the amount of any unpaid restitution found by the
Court to be due and owing at the time of sentencing in this
matter. The defendant consents to the filing of any civil .
complaint or superseding information which may be necessary
to perfect a forfeiture order and further stipulates and agrees
that the defendant’s guilty plea constitutes an admission to all
matters legally and factually necessary for entry of a forfeiture
order in this case. The parties agree that the Government will
recommend, but cannot guarantee, that any assets recovered

through forfeiture proceedings be remitted to crime victims to

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reduce the defendant's restitution obligation in this case. The
defendant acknowledges that the making of any payments does
not preclude the Government from using other assets or income
of the defendant to satisfy the restitution obligation. The
defendant understands that the amount of restitution
calculated for purposes of Chapter 5 of the Sentencing
Guidelines might be different from the amount of loss calculated
for purposes of Chapter 2 of the Sentencing Guidelines.

23. Full Restitution by Schedule. The defendant agrees to make

 

full restitution in accordance with a schedule to be determined
by the Court.
G. Information Provided to Court and Probation Office

24. Background Information for Probation Office. The defendant
understands that the United States will provide to the United
States Probation Office all information in its possession that the
United States deems relevant regarding the defendant’s
background, character, cooperation, if any, and involvement in

this or other offenses.
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25. Objections to Pre-Sentence Report. The defendant understands
that pursuant to the United States District Court for the Middle
District of Pennsylvania’s “Policy for Guideline Sentencing,”
both the United States and defendant must communicate to the

_ Probation Officer within 14 days after disclosure of the pre- |
sentence report any objections they may have as to material
information, sentencing classifications, applicable Sentencing
Guidelines ranges, and policy statements contained in or
omitted from the report. The defendant agrees to meet with the
United States at least five days prior to sentencing in a good
faith attempt to resolve any substantive differences. If any
issues remain unresolved, they shall be communicated to the
Probation Officer for inclusion in an addendum to the pre-
sentence report. The defendant agrees that unresolved
substantive objections will be decided by the Court ‘after
briefing, a pre-sentence hearing, or at the sentencing hearing,
where the standard or proof will be a preponderance of the

evidence, and the Federal Rules of Evidence, other than with

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respect to privileges, shall not apply under Fed. R. Evid.

1101(d)(3), and the Court may consider any reliable evidence,

including hearsay. Objections by the defendant to the pre-

sentence report or the Court’s rulings, will not be grounds for

withdrawal of a plea of guilty.

Relevant Sentencing Information. At sentencing, the United

States will be permitted to bring to the Court’s attention, and

the Court will be permitted to consider, all relevant information

about the defendant’s background, character and conduct,
including the conduct that is the subject of the charges that the
United States has agreed to'dismiss, and the nature and extent
of the defendant’s cooperation, if any. The United States will be
entitled to bring to the Court's attention and the Court will be
entitled to consider any failure by the defendant to fulfill any
obligation under this Agreement.

Non-Limitation on Government’s Response. Nothing in this
Agreement shall restrict or limit the nature or content of the

United States’ motions or responses to any motions filed on

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behalf of the defendant. Nor does this Agreement in any way
restrict the Government in responding to any request by the

Court for briefing, argument or presentation of evidence
regarding the application of Sentencing Guidelines to the
defendant's conduct, including but not limited to, requests for
information concerning possible sentencing departures.

H. Court Not Bound by Plea Agreement

28. Court Not Bound by Terms. The defendant understands that

the Court is not'a party to and is not bound by this Agreement,
or by any recommendations made by the parties. Thus, the
Court is free to impose upon the defendant any sentence up to
and including the maximum sentence of imprisonment for ten
years, a fine of $250,000, a maximum term of supervised release

f of up to three years, which shall be served at the conclusion of
and in addition to any term of imprisonment, the costs of
prosecution, denial of certain federal benefits, and assessments .

totaling $100.

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29. No Withdrawal of Plea Based on Sentence or Recommendations.
. If the Court imposes a sentence with which the defendant is
dissatisfied, the defendant will not be permitted to withdraw
any guilty plea for that reason alone, nor will the defendant be
‘permitted to withdraw any guilty plea should the Court decline
to follow any recommendations by any of the parties to this
Agreement.
. Breach of Plea Agreement by Defendant

30. Breach of Agreement, In the event the United States believes
the defendant has failed:to fulfill any obligation under this
Agreement, then the United States shall, in its discretion, have
the option of petitioning the Court to be relieved of its -
obligations under this Agreement. Whether the defendant has
completely fulfilled all of the obligations under this Agreement
shall be determined by the Court in an appropriate proceeding,
during which any disclosures and documents provided by the
defendant shall be admissible, and during which the ‘United

States shall be required to establish any breach by a
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_ preponderance of the evidence. In order to establish any breach

_ by the defendant, thé United States is entitled to rely on

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statements and evidence given by the defendant during the

cooperation phase of this Agreement, if any.

Remedies for. Breach. The defendant and the United States

 

agree that in the event the Court concludes that the defendant

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has breached the Agreement:

The defendant will not be permitted to withdraw any guilty

plea tendered under this Agreement and agrees not to

petition for withdrawal of any guilty plea;

The United States will be free to make any
recommendations to the Court regarding sentencing in this
case;

Any evidence or statements made by the defendant during —

the cooperation phase of this Agreement, if any, will be

admissible at any trials or sentencings;

The United States will be free to bring any other charges it -

has against the defendant, including any charges originally
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brought against the defendant or which may have been
under investigation at the time of the plea. The defendant
waives and hereby agrees not to raise any defense to the
_teinstatement of these charges based upon collateral
estoppel, Double Jeopardy, statute of limitations, assertion

of Speedy Trial rights, or other similar grounds.

32. Violation of Law While. Plea or Sentence Pending. The

defendant understands that it is a condition of this Agreement
that the defendant refrain from any further violations of state,
local, or federal law while awaiting plea and sentencing. The

defendant acknowledges and agrees that if the Government

- receives information that the defendant has committed new

crimes while awaiting plea or sentencing in this case, the
Government may petition the Court and, if the Court finds bya
preponderance of the evidence that the defendant has
committed any other criminal offense while awaiting plea or
sentencing, the Government shall be free at its sole election to —

either: (a) withdraw from this Agreement; or (b) make any

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“sentencing recommendations to the Court that it deems :
appropriate. The defendant further understands and agrees
that, if the Court finds that the defendant has committed any
other offense while awaiting plea or sentencing, the defendant
will not be permitted to withdraw any guilty pleas tendered
pursuant to this Agreement, and the government will-be
permitted to bring any additional charges that it may have
against the defendant.

J. Appeal Waiver
33. Appeal Waiver — Direct. The defendant is aware that Title 28,

- United States Code, § 1291 affords a defendant the right to
appeala judgment of conviction and sentence; and that Title 18,
United States Code, § 3742(a) affords a defendant the right to
appeal the sentence imposed. Acknowledging all of this, the
defendant knowingly waives the right to appeal the conviction
and sentence. This waiver includes any and all possible
grounds for appeal, whether constitutional or non-

constitutional, including, but not limited to, the manner in

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which that sentence was determined in light of United States Vi
Booker, 543 U.S. 220 (2005). T he defendant further
acknowledges that this appeal waiver is binding only upon the
defendant and that the United States retains its right to appeal
in this case.

Collateral Appeal Waiver. The defendant acknowledges,
understands and agrees that, by pleading guilty pursuant to
this.Agreénient, the defendant voluntarily and knowingly

waives the right to collaterally attack the defendant’s

conviction, sentence, or any other matter relating to this

 

prosecution, including but not limited to a motion to vacate

judgment under Title 28, United States Code, Section 2255; a

petition for a writ of habeas corpus under Title 28, United

States Code, Section 2241; or any other motion or writ seeking ~

collateral relief. However, no provision of this agreement shall
preclude the defendant from pursuing in an appropriate forum
any appeal, collateral attack, writ, or motion claiming that the

defendant received constitutionally ineffective assistance of Oo
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counsel. In the event the defendant raises a claim of ineffective

assistance of counsel, the defendant hereby agrees (a) that the

Government retains its right to oppose any such claim on

procedural or substantive grounds; and (b) that counsel for the
United States may confer with any of the defendant’s prior

counsel whose performance is attacked in such'a claim, for

-purposes of preparing any response or for any hearing

necessitated by the filing of such a claim.

35. Appeal Waiver Breach. The defendant acknowledges that

pursuing a direct appeal or any collateral attack waived in the

_ preceding paragraph(s) may constitute a breach of this

Agreement. The Government agrees that the mere filing of a
notice of appeal is not a breach of the Agreement. The
Government may declare a breach only-after the defendant or
the defendant's counsel thereafter states, either orally or in
writing, a determination to proceed with an appeal or collateral
attack raising an issue the Government deems barred by the

waiver. The parties acknowledge that the pursuit of an appeal
B4
or any collateral attack constitutes a breach only if a court
determines that the appeal or collateral attack does not present
an issue that a judge may reasonably conclude is permitted by
an exception to the waiver stated in the preceding paragraph(s)
or constitutes a “miscarriage of justice” as that term is defined

in applicable law.

K. Other Provisions

36.

37.

Agreement Not Binding on Other Agencies. Nothing in this
Agreement shall bind any other United States Attorney’s Office,
state prosecutor's office, or federal, state, or local law.
enforcement agency.

No Civil Claims or Suits. The defendant agrees not to pursue or
initiate any civil claims or suits against the United States of
America, its agencies or employees, whether or not presently
known to the defendant, arising out of the investigation,
prosecution or cooperation, if any, covered by this Agreement,
including but not limited to any claims for attorney's fees and

other litigation expenses arising out of the investigation and

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38.

39.

prosecution of this matter. By the defendant’s guilty plea in
this matter the defendant further acknowledges that the

Government’s ‘position in this litigation was taken in good faith,

- had a substantial basis in law and fact and was not vexatious.

Plea Agreement Serves Ends of Justice. The United States is
entering this Agreement with the defendant because this

disposition of the matter fairly and adequately addresses the.

gravity of the offenses from which the charges are drawn, as

well as the defendant’s role in such offense(s), thereby serving

_ the ends of justice.

Merger of All Prior Negotiations. This document states the —

complete and only Agreement between the United States |

' Attorney for the Middle District of Pennsylvania and the

defendant in this case, and is binding only on the parties to this

Agreement and supersedes all prior understandings or plea

- offers, whether written or oral. This agreement cannot be

modified other than in writing that is signed by all parties or on

the record in court. No other promises or inducements have

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been or will be made to the defendant in connection with this

case, nor have any predictions or threats been made in

_ connection with this plea. Pursuant to Rule 11 of the Federal

40.

Rules of Criminal Procedure, the defendant certifies that the
defendant’s plea is knowing and voluntary and is not the result
of force or threats or promises apart from those promises set
forth in this Agreement.

Defendant-is Satisfied with Assistance of Counsel. The
Defendant agrees that the defendant has discussed this case
and this Agreement in detail with the defendant’s attorney, who
has advised the defendant of the defendant’s Constitutional and
other trial and appellate rights, the nature of the charges, the
elements of the offenses the United States would have to prove
at trial, the evidence the United States would present at such
trial, possible defenses, the advisory Sentencing Guidelines and
other aspects of sentencing, potential losses of civil rights and
privileges, and other potential consequences of pleading guilty. .

in this case. The defendant agrees that the defendant is
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satisfied with the legal services and advice provided to the
defendant by the defendant’s attorney.

41. Deadline for Acceptance of Plea Agreement. The original of this
Agreement must be signed by the defendant and defense
counsel and received by the United States Attorney’s Office on
or before 5:00 p.m., February 28, 2023, otherwise the offer may,
in the sole discretion of the Government, be deemed withdrawn.

42. Required Signatures. None of the terms of this Agreement shall
be binding on the Office of the United States Attorney for the
Middle District of Pennsylvania until signed by the defendant
and defense counsel and then signed by the United States

Attorney or his designee.

ACKNOWLED GMENTS

I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.

2Lb ~ . THOMAS TROTTA’
Defendant |

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efully reviewed every part
dge, my client’ s

 
 
  
 

I am the defendant’s counsel. | havet
of this agreement with the defen ant. To my . no
decision to enter into this agreem

6 Mteeh >>

  
 

 

Date OSEPH R. DANDREA
Counsel for Defendant
. GERARD M. KARAM.
po United States Attorney
f
B/iafay By: /

 

Date 46S M. BUCHANAN
‘atstant United States Attorney

'  JMB/2020R00250/February 14, 2023
VERSION DATE: March 8, 2021

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